23-12055-shl   Doc 2   Filed 12/21/23     Entered 12/21/23 12:21:34   Main Document
                                        Pg 1 of 5
23-12055-shl   Doc 2   Filed 12/21/23     Entered 12/21/23 12:21:34   Main Document
                                        Pg 2 of 5
23-12055-shl   Doc 2   Filed 12/21/23     Entered 12/21/23 12:21:34   Main Document
                                        Pg 3 of 5
23-12055-shl   Doc 2   Filed 12/21/23     Entered 12/21/23 12:21:34   Main Document
                                        Pg 4 of 5
23-12055-shl   Doc 2   Filed 12/21/23     Entered 12/21/23 12:21:34   Main Document
                                        Pg 5 of 5
